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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


MICHAEL ESTRADA,                         :
                                         :
      Plaintiff,                         :
                                         :
      v.                                 :
                                         :
DISCOUNT AUTO PARTS, LLC,                :         CIVIL ACTION NO.
                                         :         1:21-cv-2331-AT
                                         :
                                         :
      Defendant.                         :

                                     ORDER

      The parties have advised the Court that a settlement has been reached and

formal documentation will soon be completed [Doc. 8].

      IT IS HEREBY ORDERED that the action is DISMISSED WITHOUT

PREJUDICE to the right of any party, anytime within the next NINETY (90)

DAYS, to reopen this action or vacate this order of dismissal.

      It is further ORDERED that the Court retains jurisdiction to vacate this

order of dismissal and to reopen the action, if necessary. If the action has not

been reopened or the Court has not received a motion to vacate on or before the

time permitted by this Order, the action will be dismissed with prejudice.
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SO ORDERED this 11th day of August, 2021.



                            ______________________________
                            Amy Totenberg
                            United States District Judge




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